                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                         )
                                                  )
                         Plaintiff,               )
                                                  )
       vs.                                        )      No. 22-03045-01-CR-S-SRB
                                                  )
JOSEPH SAN PAOLO,                                 )
                                                  )
                         Defendant.               )


                       ACCEPTANCE OF PLEA OF GUILTY AND
                            ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty to Counts One and Two of the

Superseding Information filed on January 18, 2023, is now Accepted and the Defendant is

Adjudged Guilty of such offense. Sentencing will be set by subsequent Order of the Court.



                                                        /s/ Stephen R. Bough
                                                       STEPHEN R. BOUGH
                                                  UNITED STATES DISTRICT JUDGE




Date: February 2, 2023




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